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                                  DISTRICT JUDGE'S CIVIL MINUTES
                         IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF ARIZONA – TUCSON
U.S. District Judge: David C. Bury                              Date: January 21, 2020
Case Number: CV-15-00250-TUC-DCB
Unknown Parties et al v. Wolf et al

APPEARANCES: Plaintiff(s) Counsel                              Defendant(s) Counsel
             Colette Reiner Mayer                              Michael Anthony Celone
             Jack Williford Londen                             William Charles Silvis
             Elizabeth Balassone                               Sarah B. Fabian
             John Douglass                                     Christina Parascandola
BENCH TRIAL – DAY 6
9:22 am - All parties are present. Defendants call Gerardo Carrasco who is sworn and examined by
Michael Celone. Exhibit 7 is admitted without objection. Cross examination by Elizabeth Balassone.
Witness is excused.

Defendants call Jay Visconti who is sworn and examined by Christina Parascandola.

10:35 am to 10:48 am – Recess taken.

Cross examination continues. Exhibits 799, 2010, 2011, 2012, 2013, 2014, and 2015 are admitted
without objection. Exhibits 2010 through 2015 were marked as Defendants’ Demonstrative Exhibits 1-
6 at the time they are shown to witnesses. Cross examination by John Douglass. Exhibit 1231 admitted
without objection.

Defendants call David Strange who is sworn and examined by Christina Parascandola. No redirect.
Witness is excused.

12:03 pm to 1:18 pm– Lunch recess taken.

Defendants call Bradley Simon who is sworn and examined by William Silvis. Cross examination by
Jack Londen. Exhibit 693 is admitted over objection. Exhibits 818 and 912 admitted without objection.
No redirect. The Court questions the witness. Bradley Smith is excused. Defendants have no further
witnesses.

2:07 pm - Proceedings recess for the day. Bench Trial continues to January 22, 2020 at 9:15 am before
this Court. Plaintiffs intend to call one rebuttal witness and then arguments will commence.

Deputy Clerk: Sara Jones                                                        3 hr 19 min
Court Reporter: Erica Mcquillen (AM)/Cheryl Cummings (PM)                       Start: 9:22 am
                                                                                Stop: 2:07 pm
